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 2
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 5   Attorney for Plaintiff

 6                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
 7

 8    MILAN KUNWAR,                                    Case No: 5:17-cv-04849-LHK

 9            Plaintiff,                               Assigned to Hon. Lucy H. Koh
10    v.                                                   STIPULATION TO
11    CAPITAL ONE, NATIONAL                             DISMISS CAPITAL ONE,
      ASSOCIATION and EQUIFAX                        NATIONAL ASSOCIATION WITH
12                                                            PREJUDICE
      INFORMATION SERVICES, LLC,
13
             Defendants.
14

15          Plaintiff, MILAN KUNWAR (“Plaintiff”), by and through undersigned counsel,
16   and Defendant, CAPITAL ONE, NATIONAL ASSOCIATION (“Capital One”) by and
17   through its undersigned counsel, hereby stipulate, pursuant to FRCP 41(a)(2), to the
18   dismissal of Capital One, with prejudice. This stipulation is a result of the settlement
19   reached between Plaintiffs and Capital One. The parties are to bear their own attorneys’
20   fees and costs. A proposed form of order is attached, for the Court’s convenience.
21          Respectfully submitted this 22nd day of June, 2018.
22
           DOLL AMIR & ELEY LLP                      MCCARTHY LAW PLC
23

24         By:/s/ Connie Y. Tcheng                   By:/s/ Garrett Charity
           Connie Y. Tcheng, Esq.                    Garrett Charity, Esq.
25         1888 Century Park East, Suite 1850        4250 N. Drinkwater Blvd., Suite 320
           Los Angeles, CA 90067                     Scottsdale, AZ 85251
           Attorney for Defendant                    Attorney for Plaintiff




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 1
                                  CERTIFICATE OF SERVICE
 2
            I hereby certify that on this 22nd day of June, 2018, I electronically transmitted the
 3
     foregoing document to the Clerk’s Office using the ECF system for filing and transmittal
 4
     of a Notice of Electronic Filing to all CM/ECF registrants of record in this matter.
 5

 6          By: /s/Garrett Charity

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